                                    DOCUMENT 1-1
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                        in the Circuit Court of Montgomery County, Alabama


Tamberly Thomas White                            case Number.C.JV        • 58
      Plaintiff(s)                                JURY TRIAL DEMANDED

Address 528 Ferndale Court
       Montgomery,AL 36110

v,
Montgomery County Commission
     Defendant(s)
Address:27 Madison Ave
        Montgomery,AL 36104                                                              .7..
                                                                                                    "..•
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                                           Complaint

I am a black-female who began working for the above-named employer on July 9,2018 as a
Revenue Examiner.The training consisted of my immediate supervisor sharing her 24-years
experience. Throughout rny employment, l was required to perform tasks that white employees
did not have to do,including submitting productivity reports. On March 29,2019, I requested
time off for my wedding that is near the end of a month.These norrnally would not be granted
because ofthe nature of our work, but it was approved. Afterwards, I began to be retaliated
against by having my work dosely scrutinized by Terri Henderson, Revenue Manager.

On April 9,2019, I filed a complaint about the way I was being treated. Courtney Oates,
Compliance Officer, violated the whistleblower laws by telling Ms. Henderson about the
investigation. During my employrnent l asked to leave eady or take a late lunch for orthodontic
appointments and my request was denied, which required me to use leave, but Ms. Henderson
left early every day. Because ofthe unfair treatment, I resigned on April 23, 2019.
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                                                                                Plaintiff(s)Signature

                                                                             Tamberiy Thomas White
                                                                                 528 Femdale Court
                                                                              Montgomery,AL 36110
                                                                               Phone:(334)531-9264
